Case 2:O4-cr-20256-.]P|\/| Document 152 Filed 06/08/05 Page 1 of 2 Page|D 209

  
 

IN THE UNITED STATES DISTRICT COURT F"'ED BY f' " U_'('
FOR THE WESTERN v`1/)elsserr1:1(:'r 0F TENNESSEE 95 JUN ,_8 PH w l
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UNITED STATES oF AMERICA, §.!i;i:`Fi§§ Li`§i, rUiSniseHm¢<
Plaintiff,
vs. Case No. 2:04cr20256-Ml

Aric J. Bady, Sr.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Cout't.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $2,500.00,

payable to Parnela V. Bady at 3257 Crete Avenue, Memphis, TN 381 ll in full refund of the cash

appearance bond posted herein.

 

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Date: UWW - ZO’J`)

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Approved.
Robert R. Di Trolio, Clerk of Court

BY: q/alij(/JM»£¢Z//

Deputyjl'?fl;

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UNITED `sATES DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 152 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

l\/lemphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

